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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

DYLAN BRANDT, et al.,
                                                                                       PLAINTIFFS,

v.                                   No. 4:21-CV-00450-JM

LESLIE RUTLEDGE, et al.,
                                                                                      DEFENDANTS.

                          DEFENDANTS’ RESPONSE IN OPPOSITION TO
                         PLAINTIFFS’ MOTION FOR SCHEDULING ORDER

       Defendants respectfully oppose Plaintiffs’ motion requesting a schedule for further pro-

ceedings in this Court while Defendants’ interlocutory appeal to the Eighth Circuit proceeds.

(See Motion, Doc. 72.) Given the novelty of the legal issues presented by this case, a decision in

favor of either Plaintiffs or Defendants by the Eighth Circuit could dramatically affect the shape

of discovery, dispositive motions, and a trial in this case. Staying further proceedings before this

Court pending an Eighth Circuit decision is likely to assist the Court in deciding the merits of

Plaintiffs’ claims and, ultimately, conserve judicial resources. A stay would not prejudice Plain-

tiffs, because this Court’s preliminary injunction is in effect while the case proceeds on appeal.

       Plaintiffs do not dispute the long-settled principle that this Court may exercise its “broad

discretion to stay proceedings when appropriate to control its docket.” Sierra Club v. U.S. Army

Corps of Eng’rs, 446 F.3d 808, 816 (8th Cir. 2006). And a key consideration for this Court

when deciding whether to exercise that broad discretion is whether a stay would help manage

this case “with economy of time and effort for itself, for counsel, and for litigants.” Landis v. N.

Am. Co., 299 U.S. 248, 254 (1936).

       Staying further proceedings in this Court while Defendants’ interlocutory appeal pro-

ceeds would “maximize the effective use of judicial resources.” Fullington v. Pfizer, Inc., No.
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4:10-CV-00236-JLH, 2011 WL 692055, at *1 (E.D. Ark. Feb. 18, 2011). “If this litigation con-

tinued at the district court level” while Defendants’ interlocutory appeal proceeds, then “the

Eighth Circuit Court of Appeals and [this Court] would be considering the same issues contested

by the same parties.” Dordt Coll. v. Burwell, No. C 13-4100-MWB, 2014 WL 5454649, at *1

(N.D. Iowa Oct. 27, 2014). On Defendants’ appeal, the Eighth Circuit will decide what legal

standard governs the merits of Plaintiffs’ claims. Staying this case pending an Eighth Circuit de-

cision, therefore, “will likely simplify, if not resolve, the issues in question.” Id. (quotation

marks omitted). Granting a stay would be the most efficient use of the Court’s resources. See

Fullington, 2011 WL 692055, at *1 (staying case pending resolution of related case by the Su-

preme Court, because “[a]ll of th[e] time and expense” of discovery and trial “would be wasted if

the Supreme Court decides” that related case in a way “that would preclude [the plaintiff] from

recovering in this action”).

       Other factors support a stay pending Defendants’ interlocutory appeal. One is the prelim-

inary stage of this case. This “case is not set for trial,” Dordt Coll., 2014 WL 5454649, at *2,

nor have the parties completed any discovery, see id. at *1. Both of these factors counsel in fa-

vor of a stay. Additionally, this Court’s preliminary injunction will ensure that Plaintiffs suffer

no prejudice from a stay. See id. (considering prejudice to nonmovant). Combined with the

clear benefits of a stay as to conserving judicial resources, these other factors give the Court

strong support for exercising its broad discretion to stay further proceedings pending Defendants’

interlocutory appeal.

       Staying further proceedings would also be consistent with common practice in the East-

ern District. For example, this Court has denied a motion for a scheduling conference and

“tak[en] under advisement” a plaintiff’s motion for leave to amend the complaint “until the Court




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of Appeals of the Eighth Circuit has ruled on the appeal” of a preliminary injunction. Order,

Jones v. Jegley, No. 4:19-CV-00234-JM (E.D. Ark. Aug. 20, 2019), ECF No. 47. And other

Courts in this District have routinely exercised their broad discretion in similar ways. See, e.g.,

Order, Libertarian Party of Ark. v. Thurston, No. 4:19-CV-00214-KGB (E.D. Ark. Feb. 3, 2020),

ECF No. 53 (finding good cause “to continue proposed trial date and to stay all deadlines pend-

ing appeal” of preliminary injunction); Order, Rodgers v. Bryant, No. 4:17-CV-00501-BRW

(E.D. Ark. Oct. 16, 2017), ECF No. 32 (granting motion to stay proceedings pending the defend-

ant’s interlocutory appeal of a preliminary injunction).

       Staying further proceedings in this Court pending Defendants’ interlocutory appeal of the

preliminary injunction would conserve judicial resources, while causing no prejudice to Plain-

tiffs. Under similar circumstances, courts in this District often enter stays.

       Therefore, Defendants respectfully request that the Court deny Plaintiffs’ motion for a

scheduling order and instead stay further proceedings in this Court until the Eighth Circuit issues

a decision in Defendants’ pending interlocutory appeal.




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Dated: September 23, 2021             Respectfully submitted,

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